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UNITED STATES BANKRUPTCY COURT
FOR THE WESTERN DISTRICT OF MICHIGAN

 

In re:
BRIAN L. STOCKFORD,

Debtor.

 

In re:
DAVID R. WIRICK,

Debtor.

 

In re:
YOLANDA DENISE STEVENSON,

Debtor.

 

In re:

WILLIAM E. WILGUS and MARCELLA K.
WILGUS,

Debtors.

 

In re:
MOLLY K. DIEKHOFF,

Debtor.

 

In re:

RANDOLPH S. SHERWOOD and
ANGELA M. SHERWOOD,

Debtors.

 

Case No. DK 16-00191
Chapter 13
Hon. Scott W. Dales

Case No. DK 16-00867
Chapter 13
Hon. Scott W. Dales

Case No. DK 16-00868
Chapter 13
Hon. Scott W. Dales

Case No. DK 16-00869
Chapter 13
Hon. Scott W. Dales

Case No. DG 16-02012
Chapter 13
Hon. Scott W. Dales

Case No. DG 16-02059
Chapter 13
Hon. Scott W. Dales

CaS€Zl€-02484-8Wd DOC #243

In re:

DAVID E. COSSOU and PAULA S.
COSSOU,

Debtors.

In re:

WILLIAM R. BELONGA,
Debtor.

In re:

LARRY J. VINCENT and MARLENE R.
VINCENT,

Debtors.
In re:

MATTHEW J. BAUER and MARCIA J.
BAUER,

Debtors.

In re:

DEANGELO R. BAYLOCK,
Debtor.

In re:

COREY M. NORD,
Debtor.

In re:

CECIL H. MORRIS,

Debtor.

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Case No. DG 16-04484
Chapter 13
Hon. Scott W. Dales

Case No. DM 16-90080
Chapter 13
Hon. Scott W. Dales

Case No. DG 17-00198
Chapter 13
Hon. Scott W. Dales

Case No. DK 17-00357
Chapter 13
Hon. Scott W. Dales

Case No. DK 17-02244
Chapter 13
Hon. Scott W. Dales

Case No. DK 17-02245
Chapter 13
Hon. Scott W. Dales

Case No. GK 16-00221
Chapter 13
Hon. John T. Gregg

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In re:

NATALIE J. VITERNA,
Debtor.

In re:

KENNETH P. CILLEY and ANN M. CILLEY,

 

 

Debtors.
/
In re:
LARRY BROOKS,
Debtor.
/
In re:

SHAUN R. JOHNSON,
Debtor.

In re:

PENNY DRUISE SICARD,
Debtor.

ln re:

DIANA JEAN MIRABELLA,
Debtor.

In re:

DUSTIN M. COLEMAN,

Debtor.

Case No. GG 16-01041
Chapter 13
Hon. John T. Gregg

Case No. GK 16-01352
Chapter 13
Hon. John T. Gregg

Case No. GK 16-01555
Chapter 13
Hon. John T. Gregg

Case No. GL 16-01556
Chapter 13
Hon. John T. Gregg

Case No. GK 16-01673
Chapter 13
Hon. John T. Gregg

Case NO. GK 16-01674
Chapter 13
Hon. John T. Gregg

Case No. GL 16-02484
Chapter 13
Hon. John T. Gregg

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In re:

JESSE W. CAMPBELL and MALINDA R. Case No. GL 16-02629
BEAUCHAMP, Chapter 13
Hon. John T. Gregg

 

 

 

 

 

 

Debtors.
/
In re:
TONY I. BREEDLOVE, Case No. GL 16-02858
Chapter 13
Debtor. Hon. John T. Gregg
/
In re:
RUSSELL G. SMITH, Case No. GL 16-03020
Chapter 13
Debtor. Hon. John T. Gregg
/
In re:
SANDRA K. FRAZIER, Case No. GG 16-03097
Chapter 13
Debtor. Hon. John T. Gregg
/
In re:
ADAM M. HOWARD and JENNIFER DAY- Case No. GG 16-03795
HOWARD, Chapter 13
Hon. Scott W. Dales
Debtors.
/
In re:
EZZARD C. ASKEW and LORIS ASKEW, Case No. GL 16-05584
Chapter 13
Debtors. Hon. John T. Gregg
/
In re:
KRYSTAL MARIE TATE, Case No. GG 16-06382
Chapter 13

Debtor. Hon. John T. Gregg

CaSe:16-02484-va0|

In re:

DEBRA DOREEN GRAHAM,
Debtor.

In re:

LISA G. RICH,
Debtor.

In re:

CHRISTOPHER KIGGINS and
KIGGINS,

Debtors.

In re:

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CYDNI

JOHN E. SHERMAN, SR. and BETHANY

SHERMAN,
Debtors.
In re:

WILLIAM R. HALL,

 

 

Debtor.
In re:
BRADLEY HIEBERT,
Debtor.
In re:

INGRID M. ABEN,

Debtor.

Case No. GK 16-06383
Chapter 13
Hon. John T. Gregg

Case No. GG 17-00884
Chapter 13
Hon. John T. Gregg

Case No. GK 17-00016
Chapter 13
Hon. John T. Gregg

Case No. GL 17-00615
Chapter 13
Hon. John T. Gregg

Case No. GL 17-01533
Chapter 13
Hon. John T. Gregg

Case No. GL 17-00903
Chapter 13
Hon. John T. Gregg

Case No. BG 16-00635
Chapter 13
Hon. James W. Boyd

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In re:

MARK LOWE and SHERI L. LOWE,

 

 

Debtors.
/
In re:
KIMBERLY SUE STEFFES,
Debtor.
/
In re:

TODD ALAN BOWMAN and LISA MARIE
BOWMAN,

Debtors.
In re:

MICHAEL D. O’BYRNE and
MARGARET A. O’BYRNE,

Debtors.
In re:

MICHAEL ALAN SEELEY and STACEY
ANN SEELEY,

Debtors.
In re:

RENEY C. KEMPTON,

 

Debtor.
/
In re:
ANGELA MCELHINNY,
Debtor.

Case No. BG 16-05880
Chapter 13
Hon. James W. Boyd

Case No. BG 16-01040
Chapter 13
Hon. James W. Boyd

Case No. BT 16-02304
Chapter 13
Hon. James W. Boyd

Case No. BG 16~03361
Chapter 13
Hon. James W. Boyd

Case No. BT 16-04141
Chapter 13
Hon, James W. Boyd

Case No. BG 16-05486
Chapter 13
Hon. James W. Boyd

Case No. BG 17-01028
Chapter 13
Hon. James W. Boyd

 

 

 

 

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In re:
TODD H. RITTER, Case No. BT 16-04595
Chapter 13
Debtor. Hon. James W. Boyd
/
In re:
JENNIFER ANN MOFFIT, Case No. BT 16-05469
Chapter 13
Debtor. Hon. J ames W. Boyd
/
In re:
KELLY J. COOPER, Case No. BG 16~06022
Chapter 13
Debtor. Hon. J ames W. Boyd
/
In re:
BRIAN LEE ELLIOTT, Case No. BT 17-01029
Chapter 13
Debtor. Hon. James W. Boyd
/
ORDER

On June 29, 2017, David G. Lutz1 presented for filing with the Clerk of the United States
Bankruptcy Court a document entitled “Verit`led Motion for Relief from Orders” (the “Verif`led
Motion”). The Verified Motion bears a caption similar to that of the Suspension Order, rather than
the caption of any specific bankruptcy case, and therefore may be read as seeking relief from the
sanctions imposed by the United States District Court. On the other hand, the Veritied Motion

may also be read as seeking relief from recent decisions of the United States Bankruptcy Court

 

1 The United States District Court recently suspended Mr. Lutz as a'member of the bar of this Court. See Opinion and
Order Imposing Suspension With Sanctions, Adm. Order 17-AD-064 (W.D. Mich. May 15, 2017) (the “Suspension

Order”).

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requiring Mr. Lutz to disgorge fees under 11 U.S.C. § 329. The document’s intended audience is

not clear,

Moreover, the Verifled Motion fails to identify any particular case except by reference to
several debtors’ last names within an exhibit to the Verified Motion. See Fed. R. Bankr. P. 9009;
LBR 9004. The improper caption (referring to the United States District Court and the disciplinary
proceeding) and the omission of any specific bankruptcy case information constitute formal
defects, at least insofar as Mr. Lutz seeks relief from the United States Bankruptcy Court.
Although the Clerk is not generally authorized to reject formally defective petitions and other

papers, Fed. R. Bankr. P. 5005(a)(1), the Court itself has this authority, and will exercise it.

Even forgiving these formal defects, the record does not establish that Mr. Lutz served the
Verifled Motion on interested parties who may be affected by the relief it seeks. See Fed. R. Bankr.
P. 9003.2 Therefore, the Court cannot grant the relief as Mr. Lutz requests in the Verifled Motion

consistent with basic notions of fairness and due process.

If Mr. Lutz intends to seek relief from the United States District Court’s Suspension Order,
he should file a motion with that court; if he intends to seek relief from orders entered in any of
the above-referenced cases, he should file and serve an appropriate, particularized motion in each

case in which he intends to challenge or modify a disgorgement order.

For the foregoing reasons, the Court will take no further action in response to the Verifled

Motion. The judges of this Court all concur. 28 U.S.C. § 154(a).

 

2 Mr. Lutz arguably seeks relief affecting his former clients who are now entitled to refunds of all or some portion of
fees they paid him in connection with their bankruptcy cases, yet he has not provided proof of service of the Veritied
Motion on those former clients, or even the United States Trustee who successfully sought the refunds on their behalf.

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NOW. 'l`l~lEREFORE_ l'l` IS l-IEREBY ORDERED that the Clerk shall refuse to accept the
Vcrilied i\/lotion l`or liling. except that a copyr ol` that document shall be entered for reference and

record purposes only in the docket of (.`r)rey M. Nm'd. C.`asc No. DK 17-02245.

l'l` lS FURTHER ORDERED that the Clerk shall enter this Order in the docket ot` each ot`
the above-referenced cases. and serve the same upon the United States Trustee and David G. Lutz

by first class U.S. l\'lail.

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Hon. John '1`. Gre§§g/ 0
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United States Bankruptcy lodge

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Date:

 

